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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

ORLANDO AGUILAR,

            Plaintiff,

v.                                 Case No:    2:19-cv-105-FtM-29NPM

LVNV FUNDING LLC and O&L LAW
GROUP, P.L.,

            Defendants.


                            OPINION AND ORDER

      This matter comes before the Court on plaintiff's Motion to

Strike (Doc. #27) filed on April 22, 2019.             Defendant filed a

Response (Doc. #32) on May 6, 2019, and plaintiff filed a Reply

(Doc. #41) on June 12, 2019.       For the reasons set forth below, the

motion is granted.

                                        I.

      On February 2, 2019, plaintiff Orlando Aguilar (Plaintiff)

filed a Complaint (Doc. #1) against defendant LVNV Funding LLC

(LVNV), alleging numerous violations of Section 1692e of the Fair

Debt Collection Practices Act (the FDCPA).              According to the

Complaint: At some point after August 10, 2001, Plaintiff defaulted

on a credit card debt he incurred, and his debt was ultimately

sold to Hudson & Keyse, L.L.C. (H&K).           (Doc. #1, ¶¶ 9-10.)       On

September 22, 2008, H&K filed a debt-recovery action against

Plaintiff in the County Court of the Twentieth Judicial Circuit in
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and for Lee County, Florida.            (Id. ¶ 11.)   On December 8, 20081,

the county court entered final judgment in favor of H&K and against

Plaintiff.     (Id. p. 35.)

      In the county court action on June 13, 2016, H&K filed a

notice indicating that it assigned its interests in the final

judgment to LVNV.      (Id. ¶ 13.)        The notice attached an affidavit

executed by “an authorized representative of LVNV,” which provided

that H&K assigned its rights in the final judgment to LVNV “in

exchange for valuable consideration . . . .”              (Id. p. 38.)   On May

18, 2018, LVNV filed a motion for writ of garnishment in the county

court action, seeking to garnish Plaintiff’s wages.               (Id. ¶ 19.)

      In this case, Plaintiff alleges LVNV violated the FDCPA by

filing motions in the county court action “without ever seeking or

being     granted   leave   .   .   .   to   substitute   party   plaintiffs,”

misrepresenting that LVNV was a plaintiff in the lawsuit, and

moving the court to enter “final judgment permitting LVNV to

garnish [Plaintiff’s] wages.”             (Id. ¶¶ 22-23.)       LVNV filed an

Amended Answer and Affirmative Defense (Doc. #17) on April 9, 2019.

In it, LVNV asserts that Plaintiff’s claims against LVNV arise out

of LVNV’s litigation conduct in the county court case, and that




      1The Complaint states final judgment was entered on December
8, 2018 (Doc. #1, ¶ 11), but the final judgment attached to the
Complaint (Doc. #1, p. 35) indicates that judgment was entered on
December 8, 2008.



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LVNV is not liable for such litigation conduct pursuant to the

First Amendment and the Noerr-Pennington doctrine.2

                                       II.

      The Federal Rules require defendants to “affirmatively state

any avoidance or affirmative defense.”        Fed. R. Civ. P. 8(c).     “An

affirmative defense is generally a defense that, if established,

requires judgment for the defendant even if the plaintiff can prove

his case by a preponderance of the evidence.”         Wright v. Southland

Corp., 187 F.3d 1287, 1303 (11th Cir. 1999).             Pursuant to Rule

12(f), courts may strike “insufficient defense[s]” from a pleading

upon a motion so requesting or sua sponte.         Fed. R. Civ. P. 12(f).

      As this Court has recently discussed in detail, compliance

with Rule 8(c) requires a defendant to set forth “some facts

establishing a nexus between the elements of an affirmative defense

and the allegations in the complaint,” so as to provide the

plaintiff fair notice of the grounds upon which the defense rests.

Daley v. Scott, No: 2:15-cv-269-FtM-29DNF, 2016 WL 3517697, at *3

(M.D. Fla. June 28, 2016).      Boilerplate pleading – that is, merely

listing the name of the affirmative defense without providing any

supporting facts – is insufficient to satisfy Rule 8(c), because

it does not provide notice sufficient to allow the plaintiff to



      2LVNV also argued it is not liable for such litigation
conduct under Florida’s litigation privilege; however, LVNV has
since withdrawn that assertion. (Doc. #32, p. 3.)



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rebut or properly litigate the defense.               Id. (citing Grant v.

Preferred    Research,     Inc.,     885    F.2d   795,   797    (11th   Cir.

1989); Hassan v. U.S. Postal Serv., 842 F.2d 260, 263 (11th Cir.

1988)).     Requiring defendants to allege some facts linking the

defense to the plaintiff’s claims “streamlines the pleading stage,

helps the parties craft more targeted discovery requests, and

reduces litigation costs.”         Id. (citations omitted).

                                       III.

      Plaintiff now moves to strike LVNV’s affirmative defense.

Plaintiff contends that (1) LVNV has failed to allege sufficient

facts to put Plaintiff on notice of the grounds on which the

affirmative defense rests; and (2) LVNV’s affirmative defense is

otherwise legally insufficient because the First Amendment and the

Noerr-Pennington doctrine are not valid defenses in this case.

A.    Whether LVNV Sufficiently Pled its Affirmative Defense

      LVNV asserts in its affirmative defense that Plaintiff’s

claims against LVNV are premised on LVNV’s underlying litigation

conduct as set forth in paragraphs 13-23 of the Complaint, and

that it is not liable for such conduct under the First Amendment

and the Noerr-Pennington doctrine.           In relevant part, Paragraphs

13-23 of the Complaint allege that LVNV (1) filed an affidavit in

the county court action averring that it was the assignee of H&K’s

interests in the final judgment; (2) represented itself as the

plaintiff    in   the   action   without    seeking    leave    of   court   to



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substitute parties; and (3) continued to misrepresent that LVNV

was the plaintiff in the county court action.              LVNV contends in

its    affirmative    defense     that   such   litigation     conduct   is

“absolutely privileged and protected by” the First Amendment and

the Noerr-Pennington doctrine.

      As to the Noerr-Pennington doctrine, the Court finds LVNV’s

affirmative defense to be sufficiently pled because it asserts

that LVNV is not liable for the litigation conduct described in

paragraphs    13-23   of   the   Complaint   under   the   Noerr-Pennington

doctrine.    As to the First Amendment, however, LVNV fails state

the basis of its First Amendment defense.            This leaves Plaintiff

(and the Court) to speculate as to the grounds on which its First

Amendment affirmative defense rests.3

B.    Whether the Noerr-Pennington Doctrine is a Valid Affirmative

      Defense

      Plaintiff asserts that LVNV’s affirmative defense is legally

insufficient because the Noerr-Pennington doctrine is not a valid

defense to an FDCPA claim.        The Court agrees.




      3To the extent LVNV’s First Amendment affirmative defense is
premised on the First Amendment right to petition, such an
affirmative defense is inapplicable to the FDCPA for the reasons
discussed infra. TEC Cogeneration Inc. v. Fla. Power & Light Co.,
76 F.3d 1560, 1570 (11th Cir.), modified in part on other grounds,
86 F.3d 1028 (11th Cir. 1996)(The Noerr-Pennington doctrine
“protects First Amendment rights to assemble and petition
government.”).



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       Derived       from   the   First     Amendment,     the     Noerr-Pennington

doctrine recognizes “that it would be destructive of rights of

association and of petition to hold that groups with common

interests may not, without violating the antitrust laws, use the

channels and procedures of state and federal agencies and courts

to advocate their causes . . . .”                  California Motor Transp. Co.

v. Trucking Unlimited, 404 U.S. 508, 510–11 (1972).                       The Noerr-

Pennington doctrine was first recognized in the antitrust context

and provides that “[t]hose who petition government for redress are

generally immune from antitrust liability.”                     Prof'l Real Estate

Inv'rs, Inc. v. Columbia Pictures Indus., Inc., 508 U.S. 49, 56

(1993).

       Some   circuit       courts   have       since   extended    the    doctrine’s

application outside the antitrust context.                   See Venetian Casino

Resort, L.L.C. v. N.L.R.B., 793 F.3d 85, 90 (D.C. Cir. 2015)

(explaining “the Noerr–Pennington doctrine as it applies in the

labor law context” (citation and quotation omitted)); IGEN Int'l,

Inc. v. Roche Diagnostics GmbH, 335 F.3d 303, 312 (4th Cir.

2003)(noting that “Noerr-Pennington immunity applies to business

torts”).      The Eleventh Circuit, however, has limited its Noerr-

Pennington analysis to antitrust actions.                 See e.g. Andrx Pharm.,

Inc.   v.     Elan    Corp.,      PLC,    421    F.3d   1227,    1233     (11th   Cir.

2005)(noting         that   the    Noerr-Pennington        doctrine       “shields   a

defendant from antitrust liability”).



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      In its affirmative defense, LVNV seeks to extend the doctrine

to the instant FDCPA action.         Plaintiff contends, however, that

the Supreme Court’s opinion in Heintz v. Jenkins, 514 U.S. 291,

294 (1995) precludes the Noerr–Pennington doctrine’s application

in FDCPA cases.      In Heintz, the Supreme Court held that the FDCPA

“applies to the litigating activities of lawyers.”             Id. at 294.

After Heintz, the Eleventh Circuit found that “[b]oth the clear

language [of the FDCPA] chosen by Congress and the Supreme Court's

explicit pronouncement in Heintz compel the conclusion that the

FDCPA applies to all litigating activities of debt-collecting

attorneys . . . .”     Miljkovic v. Shafritz & Dinkin, P.A., 791 F.3d

1291, 1299 (11th Cir. 2015). Relevant here, the court noted that

the FDCPA applies to such litigation conduct, “subject only to the

limited exceptions Congress has chosen to include in the statute.”

Id. at 1304.     The court thus held the FDCPA “encompasses actions

undertaken . . . both in and out of state court, in collecting on

[a] debt.”    Id. at 1300.

      Here, the Court finds that the Noerr-Pennington doctrine is

inapplicable    in   this   FDCPA   action   because   the   FDCPA   clearly

“encompasses actions undertaken . . . both in and out of state

court, in collecting on [a] debt”; to find otherwise would be in

direct contravention of Heintz and Miljkovic.            Id. at 1300; see

also Roban v. Marinosci Law Grp., 34 F. Supp. 3d 1252, 1255 (S.D.

Fla. 2014)(“The Noerr–Pennington doctrine does not apply” to the



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FDCPA.); Consumer Fin. Prot. Bureau v. Frederick J. Hanna &

Assocs., P.C., 114 F. Supp. 3d 1342, 1361 (N.D. Ga. 2015)(finding

the Noerr–Pennington doctrine inapplicable in an FDCPA action and

noting that “not a single court in the Eleventh Circuit has ever

applied Noerr–Pennington to bar an FDCPA claim.” (citation and

quotation omitted)).4        Indeed, although some circuit courts have

extended       the   Noerr–Pennington      doctrine   outside   the   antitrust

context, none have extended its application to the FDCPA.                     See

e.g. Wise v. Zwicker & Assocs., P.C., 780 F.3d 710, 719 n.5 (6th

Cir. 2015)(finding the Noerr–Pennington doctrine inapplicable to

the FDCPA because “[t]he FDCPA specifically includes lawyers and

litigation activities within its purview” (citation omitted));

Tobing    v.    Parker   McCay,    P.A.,    No.   317CV00474BRMDEA,    2018   WL

2002799, at *9 (D.N.J. Apr. 30, 2018)(noting that the Third Circuit

has   not      “extend[ed]   the    Noerr-Pennington     doctrine     to   FDCPA

cases”); Gerber v. Citigroup, Inc., No. CIV S07-0785WBSJFMPS, 2009



      4Citing to Coursen v. JP Morgan Chase & Co., No. 8:12-CV-
690-T-26EAJ, 2013 WL 5437341, at *9 (M.D. Fla. Sept. 27, 2013),
LVNV asserts the Noerr–Pennington doctrine applies to the FDCPA.
In Coursen, the court noted that “[f]ederal and Florida law both
recognize absolute immunity from civil actions based upon an
attorney's conduct in previous litigation” and found that such
immunity applied to the plaintiff’s complaint, which included an
FDCPA claim. The Court, however, finds Coursen unpersuasive for
two reasons. First, the court in Coursen applied the doctrine of
absolute immunity, not the Noerr–Pennington doctrine.        Id.
Second, to the extent Coursen applied the Noerr–Pennington
doctrine, Miljkovic has since confirmed that litigation conduct
falls within the purview of the FDCPA.



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WL 248094, at *4 (E.D. Cal. Jan. 29, 2009)(“[T]he Ninth Circuit

has not [] found that the Noerr-Pennington doctrine applies to

FDCPA cases.”).

      While    Plaintiff    must     still     ultimately    prove    that   LVNV’s

alleged    litigation      conduct       violated     the   FDCPA,    the    Noerr-

Pennington doctrine does not serve as a valid affirmative defense

to an FDCPA claim.         Miljkovic, 791 F.3d at 1299-1304 (The FDCPA

“unquestionably applies to [] litigating activities . . . subject

only to the limited exceptions Congress has chosen to include in

the statute.” (citations omitted)).              Thus, Plaintiff’s motion is

granted and LVNV’s affirmative defense is stricken.                          Fabrica

Italiana Lavorazione Materie Organiche, S.A.S. v. Kaiser Aluminum

& Chem. Corp., 684 F.2d 776, 779 (11th Cir. 1982)(noting that a

district   court     may   strike    a    legally     insufficient    affirmative

defense under Rule 12(f)).

      Accordingly, it is hereby

      ORDERED:

      1.      Plaintiff’s Motion to Strike (Doc. #27) is GRANTED.

      2.      LVNV   Funding   LLC       may   file   an    Amended   Answer    and

Affirmative Defense within FOURTEEN (14) DAYS of the date of this

Opinion and Order.




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       DONE and ORDERED at Fort Myers, Florida, this          26th   day of

 July, 2019.




 Copies:
 Counsel of Record




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